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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA




Marvin Randall,                                )      JUDGMENT IN A CIVIL CASE
                                               )
         Plaintiff,                            )            CV-13-616-PHX-LOA
                                               )
    v.                                         )
                                               )
National Credit Systems, Incorporated,         )
                                               )
         Defendant(s).                         )


         Jury Verdict. This action came before the Court for a trial by jury. The issues have
         been tried and the jury has rendered its verdict.


X        Decision by Court. This action came for consideration before the Court. The issues
         have been considered and a decision has been rendered.


IT IS ORDERED AND ADJUDGED that pursuant to the Court’s order filed April 8, 2013,
judgment is entered in favor of defendant and against plaintiff. Plaintiff to take nothing, and
complaint and action are dismissed without prejudice for failure to comply with the Court's
order.

                                                   BRIAN D. KARTH
                                                   District Court Executive/Clerk
May 9, 2013
                                                   s/L. Dixon
                                                   By: Deputy Clerk

cc: (all counsel)
